
 1  The People of the State of Colorado, Plaintiff-Appellee,  v.  Gregory Keighin, Defendant-Appellant. No. 19CA2399Court of Appeals of Colorado, Third DivisionJanuary 6, 2022
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
                City
      and County of Denver District Court No. 18CR6565 Honorable A.
      Bruce Jones, Judge
    
    
               
      OPINION
    
    
                BROWN,
      JUDGE
    
    
               JUDGMENT
      AFFIRMED
    
    
                Furman
      and Lipinsky, JJ., concur
    
    